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                      IN THE UNITED STATES DISTRICT COURT
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                       FOR THE WESTERN DISTRICT OF TEXAS                            ')O

                                 AUSTIN DIVISION

AMERICAN STEWARDS OF                         §
LIBERTY, CHARLES SHELL, CHERYL               §
SHELL, WALTER SIDNEY SHELL                   §
MANAGEMENT TRUST, KATHRYN                    §
                                                                                    15
HEIDEMANN, ROBERT V.                         §
HARRISON, SR., JOHN YEARWOOD,                §
AND WILLIAMSON COUNTY,                       §
TEXAS,                                       §
             PLAINTIFFS,                     §
                                             §
JOHN YEARWOOD AND                            §
WILLIAMSON COUNTY, TEXAS,                    §
        PLAINTIFF-INTERVENORS,               §

                                             §
V.                                           §    CAUSE NO. l:15-CV-1174-LY
                                             §
DEPARTMENT OF THE INTERIOR,                  §
UNITED STATES FISH AND                       §
WILDLIFE SERVICE, SALLY JEWELL,              §
DANIEL M. ASHE, BENJAMIN N.                  §
TUGGLE, CENTER FOR BIOLOGICAL                §
DIVERSITY, TRAVIS AUDUBON,                   §
AND DEFENDERS OF WILDLIFE,                   §
             DEFENDANTS,                     §
                                             §
CENTER FOR BIOLOGICAL                        §
DIVERSITY, DEFENDERS OF                      §
WILDLIFE, AND TRAVIS AUDUBON,                §
      DEFENDANT-INTERVENORS.                 §


                        MEMORANDUM OPINION AND ORDER

       Before the court in the above-styled and numbered cause are Plaintiffs' Motion for

Summary Judgment filed October 5, 2017 (Dkt. No. 132), Plaintiff-Intervenors' Motion for

Summary Judgment filed October 10, 2017 (Dkt. No. 133), Amicus-Curiae Brief of Mountain

States Legal Foundation in Support of Plaintiff-Intervenors' Motion for Summary Judgment filed

October 16, 2017 (Dkt. No. 136), Brief of Texas as Amicus Curiae in Support of Intervenor-

Plaintiffs' Motion for Summary Judgment filed October 6, 2017 (Dkt. No. 137), Federal
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Defendants' Cross Motion for Summary Judgment & Opposition to Plaintiffs' Motion for

Summary Judgment filed December 15, 2017 (Dkt. Nos. 142 & 144), Federal Defendants'

Cross-Motion for Summary Judgment and Opposition to Plaintiff-Intervenors' Motion for

Summary Judgment filed December 15, 2017 (Dkt. Nos. 145 & 146), Defendant-Intervenors'

Cross-Motion for Summary Judgment and Opposition to Plaintiffs' Motion for Summary

Judgment filed December 21, 2017 (Dkt. No. 147 & 148), Federal Defendants' Response to

Amici Curiae Briefs of Mountain States Legal Foundation and Texas filed December 22, 2017

(Dkt. Nos. 149 & 150), Defendant-Intervenors' Cross-Motion for Summary Judgment and

Opposition to Plaintiff-Intervenors' Motion for Summary Judgment filed December 22, 2017

(Dkt. Nos. 151 & 152), Plaintiff-Intervenors' Combined Reply in Support of Motion for

Summary Judgment and Opposition to Federal Defendants and Defendant-Intervenors' Cross-

Motions for Summary Judgment filed January 19, 2018 (Dkt. Nos. 154 & 155), Plaintiffs' Reply

to Responses to Plaintiffs' Motion for Summary Judgment filed January 19, 2018 (Dkt. No. 156),

Plaintiffs' Combined Response in Opposition to Defendants' Cross-Motion for Summary

Judgment and Opposition to Defendant-Intervenors' Cross Motion for Summary Judgment filed

January 19, 2018 ( Dkt. No. 157), Federal Defendants' Reply in Support of Their Motion for

Summary Judgment Against Plaintiff-Intervenors filed February 16, 2018 (Dkt. No. 158),

Federal Defendants' Opposed Motion to Strike Four Exhibits Attached to Plaintiffs' Reply Brief

filed February 16, 2018 (Dkt. No. 159), Federal Defendants' Reply In Support of Their Motion

for Summary Judgment Against Plaintiffs filed February 2, 2018 (Dkt. No. 160), Defendant-

Intervenors' Reply in Support of Their Cross-Motion for Summary Judgment and in Opposition

to Plaintiff-Intervenors' Motion for Summary Judgment filed February 16, 2018 (Dkt. Nos. 161

& 162), Plaintiffs' Opposition to Federal Defendants' Motion to Strike filed February 23, 2018



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(Dkt. No. 163), Federal Defendants' Reply in Support of Their Opposed Motion to Strike Four

Exhibits Attached to Plaintiffs' Reply Brief filed February 27, 2018 (Dkt. No. 165), Plaintiff-

Intervenors' Notice of Supplemental Authority filed December 3, 2018 (Dkt. No. 172), Response

to Plaintiff-Intervenors' Notice of Supplemental Authority filed December 10, 2018        (Dli   No.

173), and Defendant-Intervenors' Response to Plaintiff-Intervenors' Notice of Supplemental

Authority filed December 10, 2018     (Dli   No. 174). On March 2, 2018, the court conducted a

hearing on the motions at which all parties were represented by counsel. Having reviewed and

considered the motions, responsive and supplemental filings, arguments of counsel, and

applicable law, the court renders the following order.

                                     I.      BACKGROUND

       The bone cave harvestman ("harvestman") is a tiny, pale, orange, eyeless, almost

invisible, spider-like species that spends its entire life underground. It derives its nutrition from

bugs, moisture, and other nutrients that filter down from the surface. It is an elusive spider

known to inhabit only Travis and Williamson Counties, Texas and does not often reveal itself to

even the most skilled observer.     Because of the harvestman's limited population and fragile

nature, the United States Fish and Wildlife Service ("the Service") listed the species as

endangered in 1993.       This case arises out of Plaintiffs ("the Stewards")' and Plaintiff-

Intervenors' ("Yearwood") request to remove the harvestman from the endangered-species list.

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           When a case presents competing claims of varying parties, it is often hard to keep the
claims of an individual party in focus. And using the legal designation of the parties is often
hard for the reader to follow. Here, certain of the parties may be grouped with regard to issues
where their interests do not diverge. For simplicity, the court will refer to the parties as follows,
unless otherwise noted or needed for context: Plaintiffs American Stewards of Liberty, Charles
Shell, Cheryl Shell, Walter Sidney Shell Management Trust, Kathryn Heidemann, Robert V.
Harrison, Sr., John Yearwood, and Williamson County, Texas will be collectively referred to as
"the Stewards." Plaintiff-Intervenors John Yearwood and Williamson County, Texas will be
collectively referred to as "Yearwood." Defendant-Intervenors Center for Biological Diversity,
Defenders of Wildlife, and Travis Audubon will be collectively referred to as "the Center."

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   A.   THE ENDANGERED SPECIES ACT

        Congress enacted the Endangered Species Act in 1973 (the "Act") to "provide a means

whereby the ecosystems upon which endangered species                   . . .   depend may be conserved" and to

"provide a program for the conservation         of.    .   .   endangered species." 16 U.S.C.    §   153 1(b). A

species is "endangered" if it "is in danger of extinction throughout all or a significant portion of

its range." Id. at § 1532(6). The Service is responsible for determining whether to list a species

as endangered. Id. at       §   1533(a)(1). It is also responsible for determining whether to delist a

species. Id. at   §   1533(a)(2)(B).

        "[I]nterested person[s]" may petition the Service to change the status of a species,

including petitioning the Service to remove a species from the endangered-species list. Id. at                  §


1533(b)(3)(A). Within 90 days of the filing of a petition, the Service must make a fmding ("90-

day finding") as to whether the petition "presents substantial scientific or commercial

information indicating that the petitioned action may be warranted." Id. Though "substantial

scientific and commercial information" may seem like a high bar, id., the Service's regulations

indicate otherwise, defming substantial information as only "that amount of information that

would lead a reasonable person to believe that the measure proposed in the petition may be

warranted." 50 C.F.R.       §   424.14(b)(1) (2014).

        The Service must evaluate a petition for a "detailed narrative justification" for the

requested delisting and a description of the "numbers and distribution of the species involved,"

"any threats faced by the species," and whether the petition "[p]rovides information regarding

the status of the species over all or a significant portion of its range." Id. at                §   424.1 4(b)(2)

        As the interests of Plaintiffs, American Stewards of Liberty, Charles Shell, Cheryl Shell,
Walter Sidney Shell Management Trust, Kathryn Heidemann, Robert V. Harrison, Sr., John
Yearwood, and Williamson County, Texas, do not diverge, the court will refer to Plaintiffs
collectively as "the Stewards," unless otherwise noted or as needed for context.
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(2014).     The petition need only be "based on available information." Id. The Service must

publish its findings in a "listing determination" based on a consideration of five factors:

          (A) the present or threatened destruction, modification, or curtailment of [the species']
              habitat or range;
          (B) overutilization for commercial, recreational, scientific, or educational purposes;
          (C) disease or predation;
          (D) the inadequacy of existing regulatory mechanisms; or
          (E) other natural or manmade factors affecting [the species'] continued existence.

16 U.S.C. § 1533(a)(1); see      also    50 C.F.R.   § 424.11(c),      (d)   (2014).   Listing determinations must

be made "solely on the basis of the best scientific and commercial data available." 16 U.S.C.                   §

1533(b)(1)(A).

          If the Service determines that delisting           may be warranted, it will undertake a second

more searching 12-month review of the status of the species to determine whether delisting

action "is" or "is not warranted." 16 U.S.C.             §     1553(b)(3)(B) (emphases added). Under the

implementing regulations, delisting is warranted where:

                   the best scientific and commercial data available. . . substantiate that the
          species is neither endangered nor threatened for one or more of the following
          reasons:
                   (1) Extinction.
                   (2) Recovery. . . A species may be delisted on the basis of recovery only
          if the best scientific and commercial data available indicate that it is no longer
          endangered or threatened.
                   (3) Original data for classification in error. Subsequent investigations may
          show that the best scientific or commercial data available when the species was
          listed, or the interpretation of such data, were in error.

50 C.F.R.    § 424.1   1(d)(1)-(3)   (2014).   If the Service determines that a petition presents substantial
scientific or commercial information indicating that listing or delisting may be warranted, the

Service is required to make a fmding within               12   months that (1) the petitioned action is not

warranted;    (2)   the petitioned action is warranted; or (3) the petitioned action is warranted but

precluded by other higher-priority actions. 16 U.S.C.             §   1533(b)(3)(B).



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    B.   THE HARVESTMAN'S EARLY LISTING HISTORY

         In 1988, the Service determined that five species of karst invertebrate should be protected

by the Act, including the bee creek cave harvestman. 53 Fed. Reg. 36,029-01 (Sept. 16, 1988).

At that time, the bee creek cave harvestman was known to exist only in five or six caves in

Travis and Williamson Counties. The Service found in its 1988 listing that the gravest threat to

these karst invertebrates was habitat destruction and modification due to urbanization. The

Service posited that residential, commercial, and industrial development affected the entire

known range of the species. Potential threats to the species from development activities included

cave collapse or filling; alteration of drainage patterns; alteration of surface plant and animal

communities; contamination of the habitat, including groundwater, from nearby agricultural

disturbance, pesticides, fertilizers, and other runoff and increased human visitation and

vandalism. The Service also found that the species was threatened because no laws protected the

species or their habitats.

         It was not until 1993 that the Service determined that bee creek cave harvestman is

actually two species, the bee creek harvestman and the bone cave harvestman. The Service

formally extended the 1988 listing to include the bone cave harvestman in 1993. 58 Fed. Reg.

43,818-01 (Aug. 18, 1993). At that time, the Service found that both species continued to face

the same threats identified in the original 1988 listing determination, including imperiled habitats

due to urbanization. 58 Fed. Reg. at 43,819. In 1993, the Service received and denied the first

petition to delist the harvestman. So began a 25-year process to delist the harvestman as more

locations of the spider were discovered.

         In 1994, the Service completed a Karst Invertebrate Recovery Plan for Travis and

Williamson Counties, which included recovery criteria for the harvestman.              The Service
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examined the threats facing the species, including threats posed by urbanization to the

harvestman's habitat. At that time, the Service noted the harvestman's potential for complete

recovery and delisting of the species was uncertain. The plan identifies steps and benchmarks

that must be met before the harvestman can be reclassified from endangered to threatened.2

        In 2009, the Service completed a five-year species-status review, as required by the Act.

16 U.S.C. § 1533(c)(2)(A). The purpose of such review is to determine whether a species' status

has changed since it was last evaluated, including whether it should be delisted. Id.; 50 C.F.R.   §

424.21(2014). The Service determined that no change in listing status was warranted at that

time.

    C. 2014 PETITION    AND 2017 FIND1lG

        A petition to delist a species must provide available information about past and present

population figures and distribution of an endangered species, threats faced by the species, and

information about the status of the species over a significant portion of its range. 50 C.F.R.     §


424.14(b)(2) (2014). In 2014, the Stewards petitioned the Service to remove the harvestman

from the endangered-species list. The petition presented evidence about the harvestman that

corresponded to each of the statutory factors and contended that delisting was warranted for three

primary reasons. First, the petition asserted that there were significant increases in the overall

size of the harvestman's range and known   of number of habitats. Second, new data indicates that
        2
           The plan requires establishing "karst-fauna regions" and "karst-fauna-area preserves"
with the following specifications: (1) distinct areas known to support one or more locations of a
listed karst species; (2) that possess geologic and hydrologic features that create barriers to the
movement of water, contaminants, and troglobitic fauna; and (3) that exist far enough apart from
each other that, if a catastrophic event occurs in one area preserve, it would not destroy any other
area preserve occupied by the species. Under the recovery plan, reclassification would be
possible if three karst-fauna-area preserves within each karst fauna-region in a species' range are
protected in perpetuity. If fewer than three karst-fauna-area preserves exist within a given karst-
fauna region, then all karst-fauna-area preserves within that region should be protected. Before
the Service will reclassify a species, the necessary protections must be in place for at least five
consecutive years, with assurances that the area preserves will remain protected in perpetuity.

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the existence and magnitude of threats identified in the 1988 listing do not support the

conclusion that the species is at risk of extinction now or in the foreseeable future.     Third,

significant local and state conservation efforts and laws have helped to achieve recovery of the

harvestman.

       The Service issued a 90-day fmding, concluding that delisting was not warranted. 80

Fed. Reg. 30,990 (June 1, 2015). On December 15, 2015, the Stewards filed this suit challenging

the 2015 90-day finding. While the case was pending, the Service sought to voluntarily remand

the case back to the Service to address an inadvertent clerical error in its decision, namely, in

failing to examine certain reference materials in making its decision. This court granted the

remand.

       In 2017, the Service rendered a second 90-day fmding, concluding that delisting was not

warranted based on the evidence presented in the original 2014 petition. 82 Fed. Reg. 20,861-02

(May 4, 2017).     The 2017 fmding supersedes the 2015 finding. 82 Fed. Reg. at 20,863. The

parties now contest the 2017 finding.    The evidence presented in the 2014 petition and the

Service's response in the 2017 finding is summarized below

               Factor 1: Present or threatened destruction, modification, or curtailment   of the
               harvestman 's habitat or range

        The primary threat to the harvestman identified in 1988 was the potential loss of habitat

because of threats posed by urbanization and development. Much of the evidence in the petition

is intended to disprove this threat.




            The delisting determination consists of several parts: (1) the Service-published
summary notice of its finding; (2) a more detailed, signed notice of the same fmding; and (3) the
Petition Review Form for Delisting a Listed Entity. For the purpose of this order, the court will
refer to the summary notice, detailed signed notice, and petition review form collectively as the
"2017 finding."
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        The Stewards presents evidence of an increase in known locations of the harvestman

from five or six at the time of the 1988 listing to 172 in 2014. This amounts to an increase at a

rate of 7.59 new sites discovered per year and a total population increase of 3,340 percent. The

Stewards also presents evidence of five caves that currently support the harvestman despite being

located near developing areas, humans, and tourist attractions, which were all identified as

threats to the survival of the species in 1988.

                Inner Space Caverns: This cave is located under a highway and train track,
                receives about 100,000 visitors per year, and includes paved walkways and
                electrical lighting. Surveys done on the cave show a continued presence of the
                harvestman despite heavy human traffic.

                Sun City Caves: These caves are located near a residential subdivision and
                regularly monitored. One survey found an increase in fauna, and most surveys
                indicate that there has not been a substantial negative change in the population.
                Biologists continue to observe the harvestman during their surveys of the
                property.

                Weldon Cave: The Service identified this cave in the 1988 listing as a concern
                because of a nearby road extension and residential development. In 1988, this
                cave was the only example given by the Service of the potentially adverse effects
                of development on the harvestman. The cave has since been identified by the
                Service as a sustainable habitat for the species.

                Three-Mile and Four-Mile Caves: The petition lists these caves as places where
                the harvestman persists despite being located underneath a highway. The interior
                of the walls are covered in historic graffiti, which indicates a steady stream of
                vandalism and human traffic throughout the years.

        The petition urges that, without affirmative evidence that development activities will lead

to a significant reduction in the population size, the caves provide compelling evidence that the

harvestman has continued to persist alongside development, contrary to the Service's conclusion

at the time of listing.

        The petition also presents some evidence documenting the use     of "mesocaverns" by the
harvestmana phenomenon that was not considered in the         1988   listingas   a potential habitat

for the species. A mesocavern is a humanly impassable void that may or may not be connected
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to larger cave passages. The discovery       of mesocaverns as a habitat location       is significant, the

petition explains, because mesocaverns are geologically protected from development and other

activities occurring on the surface that threaten the harvestman's habitat. The petition states that

it is likely that there are at least 125 square miles   of habitable mesocaverns.

        In sum, the petition argues that current available evidence demonstrates that the

harvestman coexists with development and human traffic.                 The petition points out that no

negative correlations have been found between development and a decline in the harvestman

population. Since impacts of development are likely not as significant to the species as predicted

by the Service in the 1988 listing, the petition argues that the harvestman should be delisted.

        The Service begins its discussion of Factor        1   by restating that the primary threat to the

harvestman is still the potential loss of its habitat due to development activities. The Service

recognizes the five caves discussed in the petition. Nonetheless, the Service states that the

observation of the harvestman in these locations is not proof that they are thriving or can

withstand the long-term impacts of development activities. The Service acknowledges that it

lacks adequate data to conduct a species-trend analysis, given that it may take decades to detect

the harvestman's population trend because of small sample sizes, difficulty surveying the

species, and its long life span. Nonetheless, the finding states that the petition does not provide

the Service with adequate information to detect population trends. After concluding that there is

not enough data to do a trend analysis, the Service addresses each of the caves presented in the

petition.

                Inner City Space Caverns: The Service states that although the harvestman may
                be present at the caverns, their presence is not proof that the harvestman's
                population is robust and secure. The Service points out that, despite the
                harvestman's presence, the population may still be declining and at risk from
                threats arising from development. The Service also observes that the cavern has
                an overgrowth of algae that may out-compete the harvestman for food. The


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               Service further states that the petition failed to provide enough data for the
               Service to assess trends in the harvestman in relation to the time that they have
               been exposed to artificial lighting in the cavern. The Service further observes that
               part of the cavern is located under a highway and train tracks, which both present
               a threat of contaminant spill that could impact the species in the future.

               Sun City Cave: The Service states that the petition failed to provide enough data
               for the Service to assess the cumulative effect of the development on the
               harvestman's population trend.

               Weldon, Three-Mile, and Four-Mile Caves: The Service points out that the
               Weldon cave is surrounded by undeveloped space, not developed space, as the
               petition asserts. The Service further states that detailed survey data was not
               provided by the petitioners for three or four-mile caves.

               Mesocaverns: The Service states that it is unclear why the Stewards believes that
               mesocaverns are geologically protected from surface activities. It points to a
               study that mesocaverns are subject to rapid permeation of surface water. As a
               result, the harvestman would be as susceptible to groundwater contamination
               because water penetrates rapidly through the rock in mesocaverns.

       The finding additionally discusses a study conducted in 2007 that compares caves in

urbanized areas with caves in natural areas to bolster the finding's conclusion about the effect of

urbanization on the harvestman. The study found that, even though a small area within a largely

urbanized ecosystem may support a cave community with karst invertebrates, karst populations

are significantly lower than those found in caves in more natural, less-developed ecosystems.

The study suggests that this is most likely a result of reduced nutrient input.     The finding does

not note whether the harvestman was specifically considered in the study.           The finding also

points to a study conducted at Lakeline Cave in Travis County, that documents a significant

decline in another karst-invertebrate species over a 20-year time frame.       During this same time

frame, no more than three examples of the harvestman were observed in any one survey, and the

harvestman was not seen at all over six years and 12 surveys.          The fmding concludes that

urbanization and human population growth and development continue to represent a threat to the

species, especially in light of the exploding population in the Austin area.


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                Factor 2. Disease or predation

        In the 1988 finding, fire ants were identified by one study as being a potential competitor

with the harvestman. The study predicted that threats posed by fire ants would be exacerbated as

the human population increased. The petition presents evidence that fire ants have not been

shown to have a lasting negative impact on the harvestman populations nor on the ability of the

harvestman to persist in areas that contain fire ants.       Specifically, the petition includes a

discussion of studies conducted since the 1988 listing, which suggest that the impact to the

harvestman by fire ants is greatest during and shortly after an initial fire-ant invasion, and long-

term impacts are likely not as significant as once believed. The petition asserts this represents

new scientific information that refutes previous conclusions drawn by the Service about the

susceptibility of the harvestman to fire-ant infestations. The petition also presents evidence of

specific locations in Texas where there was not a decline in the harvestman despite the presence

of fire ants.

        The Service recognizes the study, but notes that the study also states that red fire ants

likely did contribute directly or indirectly to the disappearance or reduction in numbers of the

harvestman and that the study should not be interpreted as an indication that detrimental effects

of invasive ants will simply disappear with time. The Service states that fire ants have been

observed within and near many caves in central Texas.           The Service finally notes that it

previously considered the study cited by the petition.

                Factor 3. Inadequacy of existing regulatory mechanisms

        In 1988, there were no laws in place to protect the harvestman or its habitats. The

petition identifies 94 caves that are now protected from development by state and local

regulations. The petition also details extensive state, county, and city regulations that represent



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significant conservation efforts, including regulations by the City of Austin, City of Georgetown,

and the Texas Commission on Environmental Quality.

       The Service recognizes the new regulations but nonetheless concludes that there is not

enough information in the petition to indicate whether or not the state and local regulations

provide enough protection against all threats faced by the harvestman. For example, the Service

states that the City of Austin ordinances do not meet karst-preserve design criteria4, do not

protect crickets (a food source for the harvestman), do not include surface and subsurface

drainage basins, and do not protect the entire range of the harvestman's habitat. As for the City

of Georgetown Water Quality Management Plan, the Service points out that, because the purpose

of the plan is designed to protect salamanders, the plan offers only limited benefit to the

harvestman. The Service also observes that participation in the Georgetown Plan is voluntary

and that the petition does not provide enough detail to evaluate all the benefits the plan would

provide to the harvestman. As for the Texas Commission on Environmental Quality rules, the

Service explains that it previously concluded that the rules have limited benefit because they do

not regulate all caves inhabited by the harvestman.

               Factor 4: Other natural or manmade factors affecting continued existence

        Though not originally identified in 1988, the Service has since identified climate change

as a potential threat to the harvestman. The Service acknowledges a lack   of evidence showing a

direct correlation between climate change and impact on the harvestman. The petition argues

that studies indicate that the harvestman habitats in smaller and deeper mesocaverns may

mitigate the potential threat of climate change.

        The Service addresses the likelihood that climate change will affect the harvestman, and

specifically, the petition's contention that the use of mesocaverns may mitigate the threat of

          See supra note 2.

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climate change.      The Service acknowledges that mesocaverns may provide protection from

climate change, but states that mesocaverns will likely not be enough to ameliorate the effect of

climate change on the harvestman. The Service identifies specific dangers from climate change

including increased storms, higher temperatures, and modifying habitat or nutrient availability.

                                II.         STANDARD OF REVIEW

       Summary judgment is appropriate if the record shows "that there is no genuine issue as to

any material fact and the moving party is entitled to judgment as a matter of law." Fed. R. Civ.

P. 56(a). In the context   of a challenge to an agency action under the Administrative Procedure

Act ("APA"), "[s]unimary judgment is the proper mechanism for deciding, as a matter of law,

whether an agency's action is supported by the administrative record and consistent with the

APA standard of review." Blue Ocean Inst.          v.   Gutierrez, 585 F. Supp. 2d 36, 41 (D.D.C. 2008).

Thus, in evaluating a case on summary judgment, the court applies the standard of review from

the APA. See Shell Qffshore Inc.      v.   Babbitt, 238 F.3d 622, 627 (5th Cir. 2001); see also Tex. Oil

& Gas Ass 'n v. EPA, 161 F.3d 923, 933 (5th Cir. 1998).

       Under the APA, "[a]gency action made reviewable by statute and final agency action for

which there is no other adequate remedy in a court are subject to judicial review." 5 U.S.C.           §


704. A 90-day finding that delisting is not warranted is subject to judicial review under the Act.

See 16 U.S.C.   §   1533(b)(3)(C)(ii) ("Any negative fmding described in subparagraph (A) and any

finding described in subparagraph (B)(i) or (iii) shall be subject to judicial review."). In a

challenge to agency action brought pursuant to the APA, a court shall "hold unlawful and set

aside agency action, fmdings, and conclusions found to be," among other things, "arbitrary,

capricious, an abuse of discretion, or otherwise not in accordance with law; in excess of statutory




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jurisdiction, authority, or limitations, or short of statutory right; [or] without observance of

procedure required by law." 5 U.S.C.   §   706(2)(A)-(D)

       When reviewing for arbitrariness and capriciousness, a court considers whether an

agency has "examine[d] the relevant data and articulate[d] a satisfactory explanation for its

action including a 'rational connection between the facts found and the choice made." Motor

Vehicle Mfrs. Ass'n of US., Inc. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983)

(quoting Burlington Truck Lines, Inc.      v.   United States, 371 U.S. 156, 168 (1962)).          Agency

action is arbitrary and capricious when "the agency has relied on factors which Congress has not

intended it to consider, entirely failed to consider an important aspect of the problem, offered an

explanation for its decision that runs counter to the evidence before the agency, or is so

implausible that it could not be ascribed to a difference in view or the product of agency

expertise." Id. The scope of review "is narrow and a court is not to substitute its judgment for

that of the agency." Id. Nor should the court "reweigh the evidence." Cook              v.   Heckler, 750

F.2d 391, 392 (5th Cir. 1985). Instead, this court looks to "whether the decision was based on a

consideration of the relevant factors and whether there has been a clear error of judgment."

Judulang   v.   Holder, 565 U.S. 42, 53 (2011). Even though arbitrary-and-capricious review is

narrow, "courts retain a role, and an important one, in ensuring that agencies have engaged in

reasoned decisionmaking." Id.

       In addition to a prohibition on arbitrary or capricious action, the APA prohibits agency

action that is "not in accordance with law,"       5   U.S.C.   §   706(2)(A), or is carried out without

following procedures prescribed by statute. See id. at      §   706(2)(D); see also FCC      v.   Next Wave

Personal Communications Inc., 537 U.S. 293, 300 (2003) ("The Administrative Procedure Act

requires federal courts to set aside federal agency action that is "not in accordance with law,"          5




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U.S.C.   §   706(2)(A)which means, of course, any law, and not merely those laws that the

agency itself is charged with administering."). The court recognizes that Section 706(2)(A) has

four standards within it and considers in this opinion whether the Service's 90-day fmding is

"arbitrary, capricious,   . . .   or otherwise not in accordance with law." Id. at   706(2)(A).5


   A.    ARGUMENTS OF TilE PARTIES

         The Stewards moves for summary judgment on the basis that the Service's finding is

arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law.            See 5


U.S.C.   §   706(2)(A). More specifically, the Stewards argues that: (1) the Service applied an

unlawful and overly burdensome standard of review in making its finding; (2) the Service

unlawfully judged the petition based on whether it proved that criteria from the 1994 Recovery

Plan had been met; (3) the Service failed to consider claims in the petition that the harvestman

was listed in error, as required by its own regulations; and (4) the Service misapplied its

regulations in making its fmding.

         The Service separately moves for summary judgment, arguing that its finding is not

arbitrary and    capricious.6       More specifically, the Service asserts that it applied the correct

standard and considered all appropriate information when it reviewed the petition.                 It also

contends that the Stewards has not met its burden in showing that the Service's denial             of the

petition is so implausible that it could not be ascribed to a difference in view or the product of



           The court's analysis would not change were it to analyze the 90-day finding under
Section 706(2)(D).
         6
           The Stewards, the Service, and the Center for Biological Diversity ("the Center") each
move for summary judgment under the APA. The motions address whether the Service's fmding
is arbitrary, capricious, or otherwise not in accordance with law. The Service and the Center's
motions for summary judgment will be considered together, as they make substantially the same
argument. Yearwood, the Service, and the Center additionally move for summary judgment
based on the constitutionality of the Act. See infra Section IV.
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agency expertise. To that end, the Service argues it rationally determined that the petition failed

to present substantial scientific or commercial information.

         The Center also moves for summary judgment, arguing that the Stewards has not met its

burden in presenting substantial scientific information to indicate that delisting of the species

may be warranted. The Center additionally argues that any doubts regarding the threats facing

the harvestman must be construed in its favor.

                                        III.     ANALYSIS

         The Stewards presents several arguments as to why summary judgment should be granted

in its favor, but its most persuasive argument is that the Service required a higher quantum of

evidence than is permissible under the Act and implementing regulations governing a 90-day

finding.

         Upon review of the petition and the 2017 finding, and for the reasons that follow, the

court concludes that the Service violated its regulations when it required the Stewards to

essentially present conclusive evidence about the harvestman's population            trendsmore

evidence than the Service admits is available or attainable. The Service's regulations require a

petition to present only "available information," and the Service committed a clear error in

judgment and acted arbitrarily, capriciously, and not in accordance with law when it called for

more evidence than the law requires. The court will vacate the 2017 finding and remand the

fmding to the Service for further consideration of the Stewards' petition based on available

population information, not population information that the Service admits is impossible to

attam.




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   A. The Service violated its regulations governing the standard for reviewing a delisting
       petition by requiring an unlawfully high quantum of evidence.

       In a challenge to agency action under the APA, part of the court's task involves

"reviewing agency action to determine whether the agency conformed with controlling

statutes." Baltimore Gas & Elec. Co.          v.   Natural Resources Defense Council, Inc., 462 U.S. 87,

97 (1983). Agency action that disregards applicable law is arbitrary and capricious, and must be

set aside. See, e.g., Caring Hearts Pers. Home Servs., Inc. v. Burwell, 824 F.3d 968, 970-71

(10th Cir. 2016); Friends       of Richards-Gebaur      Airport   v.   F.A.A., 251 F.3d 1178, 1195 (8th Cir.

2001) ("[A]n agency implementing a statute may not ignore                   .   .   .   a standard articulated in the

statute."). Agency regulations are an extension of the legislative process and bind the agency

with the force and effect of law.            As with statutes, an agency must comply with its own

regulations, and the court must review an agency's actions to ensure conformity with relevant

regulations. See United States ex rel. Accardi            v.   Shaughnessy, 347 U.S. 260, 266-68 (1954)

(standing for proposition that agencies must comply with their regulations); see also Erie

Boulevard Hydropower, LP v. Fed. Energy Regulatoiy Comm 'n, 878 F.3d 258, 269 (D.C. Cir.

2017) ("It is axiomatic   . .    .   that an agency is bound by its own regulations."); Nat'l Ass 'n                 of

Home Builders   v.   Norton, 340 F.3d 835, 841, 852 (9th Cir. 2003) (upholding challenge under

Section 706 of the APA and fmding that "[h]aving chosen to promulgate the                              []   policy, the

[Servicej must follow that policy"); Alamo Exp., Inc.            v.    United States, 613 F.2d 96, 97-98 (5th

Cir. 1980) (per curiam) (finding Interstate Commerce Commission violated APA because it

failed to comply with internal procedures).

       Under the Act, a petition must "present[] substantial scientific or commercial information

indicating that the petitioned action may be warranted."                   16 U.S.C. § 1533(b)(3)(A).              The

Service's regulations in turn, define substantial information as "that amount of information that


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would lead a reasonable person to believe that the measure proposed in the petition may be

warranted." 50 C.F.R.      §   424.14(b)(1) (2014). The regulations further provide that a petition

must "[c]ontain detailed narrative justification for the recommended measure, describing, based

on available information, past and present numbers and distribution        of the species involved and

any threats faced by the species." Id. at      §    424.14(b)(2) (2014) (emphasis added). The Service

must make each listing determination "solely on the basis of the best scientific and commercial

data available." 16 U.S.C.     §   1533(b)(1)(A).

       The petition presents extensive evidence that the gravest threat to the harvestman

identified in the 1988   listingloss of habitat due to developmentmight not be as grave as was
predicted in 1988, and that reconsideration of the listing determination may be warranted. To

support this contention, the petition includes evidence that the population of the harvestman has

steadily increased since the time of the     listingfrom five in    1988 to 172 as   of 2014despite an

explosion in the human population. It also offers examples of five different caves in which the

harvestman co-exist with human visitors, highway disruptions, tourist attractions, and industrial

development, all of which the 1988 finding predicted would endanger or eradicate the species. It

presents evidence that the fire ant, identified by some studies as a competitor with the

harvestman, may not threaten the harvestman's food source to the extent believed by the Service

in 1988.   Finally, it presents evidence of overlapping regulatory regimes that now provide

protection for the harvestman, as compared to no regulatory protections in 1988.

        In considering the Stewards' petition, the Service correctly articulates the standard

required by its regulations, "[w]e evaluated this petition under the 50 CFR 424.14 requirements

that were in effect prior to October 27, 2016, as those requirements applied when the petition and

supplemental information were received." The Service analyzed the five "listing factors," as the



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Act requires. The Service determined that the evidence presented in the petition is not enough

for the Service to conclude that delisting may be warranted. The Service came to this decision

after conducting an overall assessment of the viability of the harvestman and threats to its

continued existence. However, the finding recognizes that there is currently no available data on

the overall population trend of the harvestman.          The fmding also recognizes that, although

population-trend information is likely impossible to attain, it is nonetheless essential to proving

that the harvestman's population is not declining or threatened because of urbanization. For

example, the finding stated that "[i]t may be infeasible to assess karst invertebrate population

trends in any statistically significant manner given their association with humanly inaccessible

cave habitat such as mesocaverns." Indeed, the harvestman is so elusive that the Service requires

14 different surveys   of a cave to determine to its satisfaction whether the harvestman is present.

And yet, when presented with actually available evidence that the harvestman exists and

continues to populate near developing areas, the Service discounts this evidence, stating at least

four times that the petition "failed to provide data adequate to assess trends." The Service stated

that the harvestman "may be declining or threatened even though they are observed at                a.   .   .   site.

The petition did not provide adequate information to detect population trends           . .   .   and it is not

available from other sources   . . . .   [w]e indicated in the [1994 90-day [f]inding] that more time

was needed to detect if the species is declining; however.     . .   we are still lacking adequate data to

conduct a trend analysis."     The Service also makes that "the petition failed to provide data

adequate to assess trends in the karst invertebrate populations since the development occurred,"

and also that "the petition failed to provide any data adequate to assess trends in the karst

invertebrate population in relation to the time (duration and frequency) that [the harvestman has]

been exposed to the artificial lighting." As for climate change, the Service states that "the



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petition provided no trend analysis to indicate that this species can withstand the threats

associated with development or climate change over the long term." This lack of conclusive

population data led the Service to conclude that the petition did not present enough information

to demonstrate that delisting may be warranted.

       By requiring evidence that the Service admits is either infeasible to collect or totally

unavailable, the Service makes it all but impossible for the Stewards to disprove the essential

assumption of the 1988   listingthat the   harvestman would decline as the population increases

because of dangers to its     habitatand   thus, makes the case for delisting the harvestman

impossible.   Rather than considering whether the information presented in the petition may

indicate that delisting is warranted, the Service requires conclusive evidence that the overall

population of the harvestman did not decline as human population and development increased.

The Service disputes this point and argues that the petition was not denied because of a lack of

population-trend data, but that the Service denied the petition after the Service conducted an

overall assessment of the viability of the harvestman and threats to the harvestman's continued

existence. Nonetheless, after review of the finding, this court concludes that the bulk of the

evidence presented in the petition was discounted because it was not accompanied by overall-

population-trend data.

       The court concludes that denying the petition because the petition lacks admittedly

unavailable evidence, the Service did not make its decision based on the best available data, in

violation of the Act and implementing regulations. See 16 U.S.C.     §   1533(b)(1)(A) ("Listing

determinations" must be made "solely on the basis of the best scientific and commercial data

available"); 50 C.F.R.   §   424.14(b)(2) (2014) (petition must describe "based on available

information, past and present numbers and distribution of the species involved and any threats



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faced by the species"). In reaching this conclusion, the court recognizes that the evidence

presented in the petition is not conclusive proof that the species is actually increasing or that an

increase in human population will not detrimentally affect the harvestman's habitat. The court

concludes only that that the evidence presented in the petition meets the low evidentiary

threshold set forth in the Act and implementing regulations for a 90-day    fmdingthat delisting
of the harvestman may be warranted. The Service may determine after a more searching inquiry

whether the harvestman is, in fact, increasing, and whether delisting of the species defmitively is

or is not warranted. See 16 U.S.C.   §   1533(b)(3)(B).

   B. The Service's violation of the Act and implementing regulations is arbitrary,
      capricious, and not in accordance with law.

       Under the APA, a court must set aside an agency decision that is "arbitrary, capricious,

an abuse of discretion, or otherwise not in accordance with law." 5 U.S.C.       §   706(2)(A). The

APA requires an agency to "examine the relevant data and articulate a satisfactory explanation

for its action including a 'rational connection between the facts found and the choice made."

State Farm, 463 U.S. at 43. When reviewing for arbitrariness or capriciousness, this court looks

to "whether [an agency's] decision was based on a consideration        of the relevant factors and
whether there has been a clear error of judgment." Judulang, 565 U.S. at 53. Even though

arbitrary and capricious review is narrow, "courts retain a role, and an important one, in ensuring

that agencies have engaged in reasoned decisionmaking."         Id.   In determining whether the

Service has engaged in "reasoned decisionmaking" this court considers what is required of the

agency by the Act and implementing regulations, which provide the evidentiary lens through

which the agency is to "examine relevant data." State Farm, 463 U.S. at 43.

       Many courts have concluded that an agency's failure to comply with its own regulations

is arbitrary and capricious. See, e.g., Erie Boulevard Hydropower, 878 F.3d at 269 ("[I]f an


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agency action fails to comply with its regulations, that action may be set aside as arbitrary and

capricious."); Nat'! Envt!. Dev. Assoc. 's Clean Air Project          v.   E.P.A., 752 F.3d 999, 1009 (D.C.

Cir. 2014) (holding that an "agency is not free to ignore or violate its regulations" and "an

agency action may be set aside as arbitrary and capricious if the agency fails to 'comply with its

own regulations"). Other courts have concluded that an agency's failure to comply with its own

regulations is "not in accordance with law." See, e.g., Calderon v. Sessions, 330 F. Supp. 3d 944

(S.D.N.Y. Aug.     1,   2018) (citing   5   U.S.C.   §   706(2)(A)); Koshman    v.   Vilsack, 865 F. Supp. 2d

1083, 1095 (E.D. Cal. 2012) (challenge that agency did not abide by its own regulations and

governing statutes and concluding that agency's decision is "not in accordance with the law").

       The court finds that the Service did not engage in "reasoned decisionmaking" when it did

not follow the standard set by Congress and implementing regulations intended to guide the

Service's decisionmaking. The court concludes that the petition presents available, substantial

scientific and commercial information indicating that delisting of the harvestman may be

warranted. As a result, the court concludes that the Service's conclusion to the contrary is

arbitrary, capricious, "or otherwise not in accordance with [the Act and implementing

regulations]," which require that a petition need only present available evidence.                5   U.S.C.   §


706(2)(A).7     The court will vacate the 2017 finding and remand the finding to the Service for

further consideration of the Stewards' petition based on available population information, not

population information that the Service admits is impossible to attain.                     See Chamber of

Commerce of United States of Am.            v.   United States Dep 't of Labor, 885 F.3d 360, 388 (5th Cir.


        '
           The Stewards additionally contends that the 2017 finding is arbitrary and capricious
because the Service unlawfully relies on the recovery plan and karst-preserve design
recommendations as necessary evidence of whether the harvestman has recovered and
necessitates delisting. Because the court concludes that the finding is arbitrary and capricious on
other grounds, the court need not consider the argument that the use of the recovery plan as
binding is unlawful.
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2018),judgment entered sub nom. Chamber               of   Commerce of Am.        v.   United States Dep 't    of


Labor, No. 17-10238, 2018 WL 3301737 (5th Cir. June 21, 2018) (vacating rule found to be

arbitrary, capricious, and not in accordance with law); see also N. Carolina Fisheries Ass 'n, Inc.

v.   Gutierrez, 550 F.3d 16, 20 (D.C. Cir. 2008) ("[W]hen a court reviewing agency action

determines that an agency made an error of law.            . .   the case must be remanded to the agency for

further action consistent with the corrected legal standards.").

     C. The Service considered whether the harvestman was listed in error.

        Delisting is   also appropriate under the                  Service's regulations if "[sjubsequent

investigations may show that the best scientific or commercial data available when the species

was listed, or the interpretation of such data, were in error." 50 C.F.R.          §   424.1 1(d)(3) (2014).

        The 1988 listing identifies the primary threat to the harvestman as potential loss of habitat

because of ongoing development activities. The Stewards' petition states that the discovery of

many previously unknown populations of the harvestman arguably demonstrates that the 1988

listing was in error because more species have been discovered as development increases. The

Stewards argues that the record is devoid of any evidence that the Service evaluated whether the

original listing was in error. This argument is not supported by the record.

        The finding expressly considers whether the original listing was erroneous. The finding

states that a review of the petition does not indicate that the original classification was made in

error. The Service concludes "[b]ased on our review and evaluation.                    . .   the petition does not

present substantial scientific or commercial information indicating that the delisting of the

harvestman may be warranted due to       .   .   .   error in the original scientific data at the time the

species was classified or in our interpretation of that data." For example the Service indicates

that "species may be delisted when subsequent investigations 'show that the best scientific and

commercial data available when the species was listed, or the interpretation of such data, were in

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error." The Service also considered the petition's assertion "that threats to the species are not as

severe as originally thought   .   .   .   [w]e evaluate that information, below, with respect to the five

listing factors." In light of the record, the court concludes that the Service did consider whether

the original listing was in error.

        The Stewards also disagrees with the substance of the Service's determination that the

original listing was not in error. Very little was known about the harvestman at the time of the

1988 listing. The 1988 listing is based on a handful             of studies on similar species, their food

sources, and the potential effects of human development on the species. At the time of listing,

neither the Service nor scientists were aware that the harvestman was a distinct species, and the

listing is not specific to the harvestman.             Nonetheless, the primary threat identified is the

potential loss of habitat due to ongoing human development.                      The petition posits that the

discovery of previously unknown populations of the harvestman arguably demonstrates that the

1988 listing was in error. The court is not persuaded. The regulations governing whether a

listing was in error are backward looking, and the court looks to whether subsequent information

reveals that "data available when the species was listed          . . .   were in error" at the time of listing.

50 C.F.R.   §   424.11(d)(3) (2014). The discovery of previously unknown populations of the

harvestman does not demonstrate that the data on which the original listing is based was

erroneous at the time of the 1988 listing. Limited information available about the species at the

time indicated that the habitats of the harvestman would be threatened by changes arising from

human population increases and development. Information now available indicates that threat

may not be as grave as initially predicted and that delisting may be warranted. The Service will

consider this on remand. The court rejects the Stewards argument of error in the 1988 listing.




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    IV.         PLAINTIFF-INTERVENORS' MOTION FOR SUMMARY JUDGMENT

          Yearwood moves separately for summary judgment under the APA, arguing that

Congress has exceeded its constitutional authority under the Commerce Clause, the Necessary

and Proper Clause, and Tenth Amendment by regulating the "take" of the harvestman. See U.S.

Const. art. I,   § 8, cl.   3; U.S. Const. art. I,   § 8, cl.   18; U.S. Const. Amend. X; see also 16 U.S.C. §

1538(a)(1)(B) (prohibiting the "take" of certain endangered                 species).8   Yearwood is supported

by the State of Texas and Mountain States Legal Foundation, both of whom submitted amicus

curiae briefs in support of Yearwood's motion for summary judgment.

          The Service and the Center cross-move for summary judgment, arguing that Yearwood's

claims are barred by the applicable statute of limitations.9 In the alternative, the Service argues

that Yearwood's constitutional arguments is foreclosed in this circuit because regulating takes of

the harvestman under the Act is a valid exercise of the Commerce Clause power. See GDF

Realty Invs., Ltd.     v.   Norton, 326 F.3d 622 (5th Cir. 2003), reh 'g denied, 362 F.3d 286 (5th Cir.

2004). Th Service also contends that the Congress's regulation of takes is consistent with the

Necessary and Proper Clause and the Tenth Amendment. See U.S. Const. art. I,                    § 8, cl.   18; U.S.

Const. Amend. X.




          8
            A "take" is defmed as harassing, harming, pursuing, hunting, shooting, wounding,
killing, trapping, capturing, collecting, or attempting to engage in any such conduct. Id. at §
1532(19). Property owners and developers must seek permits from the Service for approval of
any activities that might disturb an endangered species. Id. at § 1539(a). The consequences of
an unauthorized take can be serious, including civil and criminal penalties, fines as great as
$50,000, and imprisonment for up to one year. Id. at § 1540.

           The arguments of the Service and the Center are substantively similar, and the court
will refer to the arguments made by both as the Service's arguments, unless otherwise noted or
as needed for context.


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   A. Yearwood's claims are not barred by the statute of limitations, but Williamson
       County's claims are barred.
       Under the APA, a reviewing court shall "hold unlawful and set aside agency action,

fmdings, and conclusions found to be        .   .   .   not in accordance with law [or] contrary to a

constitutional right, power, privilege, or immunity."              5   U.S.C.   §   706(2)(A)-(B). Because the

APA lacks a specific statutory limitations period, challenges brought under the APA are

"governed by the general statute of limitations provision of 28 U.S.C.                §   2401(a), which provides

that every civil action against the United States is barred unless brought within six years of

accrual." Dunn-McCampbellRoyaltv Interest, Inc.              v.   Nat'! Park Sen'., 112 F.3d 1283, 1286 (5th

Cir. 1997); see also 28 U.S.C.   §   2401(a) ("[E]very civil action commenced against the United

States shall be barred unless the complaint is filed within six years after the right of action first

accrues.")

       In determining when a right of action accrues, the law distinguishes between a "facial

challenge" to a regulation and a challenge to a regulation after an agency applies that regulation

to a plaintiff See Dunn, 112 F.3d at 1287. "On a facial challenge to a regulation, the limitations

period begins to run when the agency publishes the regulation." Id. The Dunn court, declined

to rule on the merits   of a plaintiff's facial claim "that the regulations exceeded National Park

Service authority under the Padre Island National Seashore Act" because the plaintiff "failed to

mount a facial challenge to the regulations within six years of their publication."                           Id.

Nonetheless, the court concluded that the regulation could be challenged "after the limitations

period has expired, provided that the ground for the challenge is that the issuing agency exceeded

its constitutional or statutory authority." Id. To sustain such a claim, an agency must apply the

rule to the plaintiff such that the plaintiff can "show some direct, fmal agency action." Id. Final

agency action includes a plaintiff petitioning an agency for relief from a regulation. Id. (citing


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Wind River Mining Corp.          v.   United States, 946 F.2d 710, 715-16 (9th Cir. 1991); Public Citizen

v.   Nuclear Regulatory Corn 'n, 901 F.2d 147, 152-53 (D.C. Cir. 1990)). It also includes an

agency issuing an order requiring a plaintiff to comply with a regulation. Dunn, 112 F.3d at

1287 (citing Texas      v.   United States, 730 F.2d 409, 411-12 (5th Cir. 1984)). Thus, "an agency's

application of a rule to a party creates a new six-year cause of action to challenge to the agency's

constitutional or statutory authority." Dunn, 112 F.3d at 1287.

         In addition, "agency action must mark the consummation            of the agency's decisionmaking

processit        must not be of a merely tentative or interlocutory nature." US. Arrny Corps of

Engineers   v.   Hawkes Co.,            U.S.   -,   136 S .Ct. 1807, 1813 (2016) (quoting Bennett v. Spear,

520 U.S.         154,   177-78 (1997).          Agency action marks the consummation of agency

decisionmaking if it is not "advisory in nature" but is instead "definitive [in] nature." Id. at

1813-14. The action must also be one by which rights or obligations have been determined, or

from which legal consequences will flow, and thus, must "give rise to 'direct and appreciable

legal consequences." Id. at 1814 (quoting Bennett, 520 U.S. at 178).

         The court concludes that Yearwood's challenge is not barred by the limitations because

he is a party to the 2014 petition to delist the harvestman and is directly affected by the Service's

decision not to delist the harvestman. Yearwood can demonstrate the requisite "direct, final

agency action" affecting him personally and may challenge the Service's statutory and

constitutional authority for applying the rule. Dunn, 112 F.3d at 1287. Accordingly, the court

concludes that Yearwood' s constitutional challenges are not barred by the statute of limitations.

         As Yearwood concedes, however, Williamson County is not a party to the 2014 petition

to delist the harvestman. The County nonetheless claims that it has suffered similar injuries to

those suffered by Yearwood and other parties who filed the petition and should not be barred by



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limitations. The County marshals to no legal support for this proposition. Because the County is

not a party to the 2014 petition, it cannot show the requisite direct and fmal action that flows

from the denial of Yearwood's petition. The County's claims are barred by limitations.

   B. The Service's regulation of the harvestman takes does not violate the Commerce
        Clause.

        Under the Commerce Clause, Congress may "regulate Commerce                     . . .   among the several

States," U.S. Const. art. I,        §   8, ci. 3, including regulating activities that "substantially affect

interstate commerce." United States            v.   Lopez, 514 U.S. 549, 558-59 (1995); United States              v.


Morrison, 529 U.S. 598, 609-12 (2000). Additionally, an intrastate activity may be regulated if

it is "an essential part   of a larger regulation of economic activity, in which the regulatory scheme

could be undercut unless the intrastate activity were regulated."                   Lopez, 545 U.S. at 561;

Morrison, 529 U.S. at 657.

        In reviewing an act passed under Congress's Commerce Clause authority, the court

applies a rational-basis analysis, under which courts "need not determine whether                  . . .   activities,

taken in the aggregate, substantially affect interstate commerce in fact, but only whether a

'rational basis' exists for so concluding." Gonzales              v.   Raich, 545 U.S. 1, 22 (2005) (quoting

Lopez, 514 U.S. at 557); see also GDF Realty, 326 F.3d at 627. Yearwood disputes that this

court should review the Act under a rational-basis standard. Yearwood's primary argument is

that Supreme Court and Fifth Circuit cases altered the landscape for evaluating regulations of

non-commercial intrastate activity "from a traditional Commerce Clause analysis," which is

scrutinized for a rational basis, to one that is analyzed under the Necessary and Proper Clause,

U.S. Const. art. I,   § 8, cl.     18, with a higher level     of scrutiny. See Raich, 545 U.S. at 34; Nat'l

Fed'n of Indep. Bus.       v.   Sebelius, 567 U.S. 519, 562-74 (2012); St. Joseph Abbey           v.   Castille, 712

F.3d 215 (5th Cir. 2013); United States               v. Whaley,       577 F.3d 254, 260-61 (5th Cir. 2009).


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Yearwood asserts that the Necessary and Proper Clause requires that regulations be (1) "narrow

in scope," (2) "incidental" to the regulation     of commerce, and (3) cannot "work a substantial

expansion of federal authority." Sebelius, 567 U.S. at 560-61.

             a.   GDF Realty Investments, Ltd.   v.   Norton

          Regulation of a take of the harvestman is a valid exercise of the Commerce Clause

power. GDF Realty, 326 F.3d at 622. In GDF Realty, a group of developers challenged the

harvestman's listing determination, arguing that the Act's take provision as applied to the

harvestman was unconstitutional. Like Yearwood, the developers argued that the take provision

exceeded Congress's Commerce Clause authority because a take of the harvestman has no

relationship to interstate commerce. Id. at 626. The court analyzed the Act and the listing

provision under the Lopez and Morrison framework, and concluded that the Act is a general

regulatory statute that is economic in nature and has a substantial relation to commerce. Id. at

640 (citing Lopez, 545 U.S. at 561; Morrison, 529 U.S. at 657). Though takes of the harvestman

by themselves do not have an effect on interstate commerce, the court concluded that regulating

intrastate takes is an essential part of the Act as a whole. Id. Thus, the application of the Act to

the harvestman "is a constitutional exercise of the Commerce Clause power." Id. at 641.

          Yearwood recognizes GDF Realty but argues that its mode of analysis has been overruled

by subsequent cases. See Raich, 545 U.S. at 34; Sebelius, 567 U.S. at 562-74; Castille, 712 F.3d

at 215; Whaley, 577 F.3d at 260-61. Yearwood contends that the GDF Realty court applied a

"deferential" version of rational-basis scrutiny to claims under the Commerce Clause in GDF

Realty.     Yearwood asserts that Raich, Sebelius, and Whaley altered the applicable test for

evaluating regulations of non-commercial intrastate activity "from a traditional Commerce

Clause analysis," analyzed under rational-basis scrutiny, to one that more closely scrutinizes



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regulations under the Necessary and Proper Clause. Thus, Yearwood asks this court ignore the

holding of GDF Realty and look anew at the regulation of the harvestman takes in light of Raich,

Sebelius, and Whaley.

                b. Gonzalez v. Raich and United States      v.   Whaley

          Yearwood argues that a concurring opinion Raich altered the analysis for intrastate

activities that have a substantial effect on interstate commerce. Raich, 545 U.S. at 34 (Scalia, J.,

concurring) ("Congress's regulatory authority over intrastate activities that are not themselves

part of interstate commerce (including activities that have a substantial effect on interstate

commerce)" should "derive[] from the Necessary and Proper Clause."). Id. The majority in

Raich, however analyzed the case under Lopez and Morrison and applied a rational-basis test in

reviewing non-commercial intrastate activities that have a substantial effect on interstate

commerce. Id. at 22. The majority did not separately analyze the case under the Necessary and

Proper Clause.

         Yearwood additionally contends that the circuit adopted Raich 's concurring opinion in

United States      v.   Whaley. 577 F.3d at 260.      Whaley involved a challenge to the Sex Offender

Registration and Notification Act that the court upheld as a valid regulation of activities under

the Commerce Clause. Id. at 258. After upholding the statute under the Commerce Clause, the

court stated "to the extent that [the statute] applies to sex offenders remaining intrastate, the

Necessary and Proper Clause provides Congress with the necessary authority." Id. at 260-61

(citing Raich, 545 U.S. at 35-37 (Scalia, J., concurring)).

          The Fifth Circuit "follows the rule that alternative holdings are binding precedent and not

obiter dictum." Texas        v.   United States, 809 F.3d 134, 178 n.158 (5th Cir. 2015) (quoting United

States   v.   Potts, 644 F.3d 233, 237 n.3 (5th Cir. 2011)), aff'd by an equally divided Court,



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U.S.    ,   136 S.Ct. 2271 (2016); see also United States v. Reyes-Contreras, No. 16-41218,

F.3d    ,      n. 19, 2018 WL 6253909, at *7 n. 19 (5th Cir. Nov. 30, 2018) (en banc). This court

does not find that Whaley brief, two-paragraph discussion of the Necessary and Proper Clause,

is an "alternative holding" as opposed to additional reasoning.       Assuming, arguendo, that

Whaley 's discussion is an alternate holding, the court nonetheless concludes that Whaley 's

alternative invocation of the Necessary and Proper Clause to analyze instrumentalities and

channels of interstate commerce does not overrule GDF Really. Whaley does not mention GDF

Realty, and as such, does not unequivocally overrule the holding or analysis of GDF Realty.

Moreover, the circuit did not reference Whaley nor apply a Necessary and Proper Clause analysis

when it most recently upheld the constitutionality      of the Act's critical-habitat-designation

provision under the Commerce Clause. See Markie Interests, L.L. C.       v.    United States Fish &

Wildlife Serv., 827 F.3d 452, 459 (5th Cir. 2016), vacated and remanded sub nom. Weyerhaeuser

Co. v. US. Fish & Wildlife Serv.,          U.S.   -,   139 S. Ct. 361 (2018), and cert. granted,

judgment vacated on other grounds sub nom. Markie Interests, L.L. C.      v.   US. Fish & Wildlife

Serv., No. 17-74, 139 S. Ct. 50 (Dec. 3, 2018).        Instead, the circuit applied the majority's

analysis in Raich and discussed the reasoning and holding of GDF Realty. Id. at 477-78.

       This court recognizes that the Supreme Court vacated the judgment in Markle in light of

Weyerhaeuser, but the Court did so on other grounds.'°          Though Markie no longer holds


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            Two separate petitions for a writ of certiorari were filed in Markie. The Court granted
the petition of Weyerhaeuser Company, which primarily raised an issue of statutory construction
of the Act's critical-habitat-designation provision. See Weyerhauser Co. v. US. Fish and
 Wildlife Serv., No. 17-7 1,      U.S.    , 138 S. Ct. 924 (Jan.22, 2018). The petition of Markle
Interests, LLC; P&F Lumber Company 2000, LLC; and PF Monroe Properties LLC presented a
question about whether Congress exceeded its authority under the Commerce Clause in
regulating intrastate critical habitats. The Court held Markie's petition, granted it, and vacated
the judgment, and remanded the case for further consideration in light of Weyerhaeuser. Markie
Interests, L.L.C. v. US. Fish & Wildlife Serv., No. 17-74, 139 5. Ct. 50 (Dec. 3, 2018).


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precedential value, this court finds persuasive its reasoning on the Commerce Clause, because

Markie is the most recent and directly applicable articulation by the Fifth Circuit on how the

court analyzes intrastate activities regulated by the Act under the Commerce Clause. The Court

in Weyerhaeuser did not consider the constitutionality        of the Act's critical-habitat-designation

provision under the Commerce Clause, nor whether such a question should be analyzed under

the Necessary and Proper Clause.         Instead, Weyerhaeuser involved a question of statutory

interpretation of the critical-habitat provision of the Act."

          Yearwood finally asserts that Supreme Court in Sebelius "found that the Affordable Care

Act could not be justified by the Commerce Clause when viewed through the Necessary and

Proper Clause." Yearwood repeatedly, but improperly, refers to a solo concurrence in Sebelius

as the Court's holding. The majority decided the case based on Congress's taxing power, not on

the Necessary and Proper Clause. 567 U.S. at 538-539, 564-74. Accordingly, the court does not

find Yearwood's invocation of a concurring opinion in Sebelius to be persuasive authority.

          In sum, this court recognizes that Raich and Whaley mention the Necessary and Proper

Clause.        However, these passing references are not enough to shift the well-established

Commerce Clause         analysisone the Fifth Circuit        has twice applied in considering the

constitutionality of the   Actto    one that has not been adopted by a majority of the Supreme

Court nor by the Fifth Circuit in a factually analogous          case.'2   Accordingly, the court will


          " More specifically, the Court granted certiorari to consider whether          a critical habitat
need be currently habitable; the Fifth Circuit held it did not. Weyerhaeuser, 139 5. Ct. at 364.
The Supreme Court also granted certiorari to consider whether the Service's decision to exclude
an area as a critical habitat is subject to judicial review; Fifth Circuit held that it is not. Id.
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            Yearwood also asserts that the rational-basis test applied in GDF Realty "is no longer
sufficient in this circuit" because the "Fifth Circuit has since rejected this no-evidence approach
to rational-basis scrutiny in other contexts." See, e.g., Castille, 712 F.3d at 223 ("Our analysis
does not proceed with abstraction for hypothesized ends and means do not include post hoc
hypothesized facts."). Castille analyzes the constitutionality of a state casket regulation under
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continue to follow GDF Realty and concludes that the Service's regulation of the harvestman

does not violate the Commerce Clause.

   C.   TENTH AMENDMENT

        Yearwood argues that Congress's regulation of the harvestman violates the Tenth

Amendment, but devotes no briefing to the issue. U.S. Const. Amend. X. "Arguments that are

insufficiently addressed in the body of the brief, however, are waived." See Bridas S.A.P.I. C.   v.


Gov't of Turkinenistan, 345 F.3d 347, 356 n.7 (5th Cir. 2003) (citing Quick Techs., Inc.   v.   Sage

Group PLC, 313 F.3d 338, 343 n.3 (5th Cir. 2002)) ("Arguments raised in a perfunctory manner,

such as in a footnote, are waived"). Accordingly, the court concludes that Yearwood waived this

argument.

                                      V.    CONCLUSION

        The court concludes the 2017 finding is arbitrary, capricious, and not in accordance with

law. When a reviewing court concludes an agency action to have been carried out "without

observance of procedure required by law," the court shall "hold unlawful and set aside" the

action. 5 U.S.C.   §   706. Accordingly,

        IT IS ORDERED that Plaintiffs' Motion for Summary Judgment filed October 5, 2017

(Dkt. No. 132) is GRANTED with regard to the Stewards's claim that the Service acted

arbitrarily and capriciously. The court will vacate the 2017 fmding and remand the 2017 finding

to the Service for further consideration consistent with this opinion. In all other respects, the

motion is DENIED.


the Due Process and Equal Protection Clauses of the Fourteenth Amendment, to determine
whether the regulation has a rational connection to the state's police powers. Castille, 712 F.3d
at 22 1-22. In so doing, the Court states that "a hypothetical rationale, even post hoc, cannot be
fantasy." Id. at 223. However, Castille does not involve a Commerce Clause challenge and
cannot stand for a broad refashioning of the test used in Commerce Clause challenges, as
Yearwood asserts.
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       IT IS FURTHER ORDERED that Federal Defendants' Cross Motion for Summary

Judgment filed December 15, 2017 (Dkt. Nos. 142) is GRANTED as to its argument that the

Service considered whether the harvestman was listed in error. In all other respects, the motion

is DENIED.

       IT IS FURTHER ORDERED that Defendant-Intervenors' Cross-Motion for Summary

Judgment and Opposition to Plaintiffs' Motion for Summary Judgment filed December 21, 2017

(Dkt. No. 147) is DENIED.

       IT IS FURTHER ORDERED that Plaintiff-Intervenors' Motion for Summary

Judgment filed October 10, 2017 (Dkt. No. 133) is GRANTED to the following extent:

Yearwood's arguments are not barred by the statute of limitations. In all other respects, the

motion is DENIED.

       IT IS FURTHER ORDERED that Federal Defendants' Cross-Motion for Summary

Judgment filed December 15, 2017 (Dkt. Nos. 145) and Defendant-Intervenors' Cross-Motion

for Summary Judgment filed December 22, 2017 (Dkt. Nos. 151) are GRANTED to the

following extent: Congress's regulation of a "take" of the harvestman under the Act is a valid

exercise of the Commerce Clause power. In all other respects, the motions are DENIED.

       IT IS FINALLY ORDERED that Federal Defendants' Opposed Motion to Strike Four

Exhibits Attached to Plaintiffs' Reply Brief [Dkt. Nos. 156-6, 156-7, 156-8, 156-9 & 157-6, 157-

7, 157-8, 157-9] and Memorandum in Support filed February 16, 2018 (Dkt. No. 159) is

DISMISSED, as the court did not consider these exhibits.

       SIGNED this J        3j4 of March,   2019.




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